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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )                 8:14CR324
                     Plaintiff,              )
                                             )
       vs.                                   )                  ORDER
                                             )
FERNANDO NEVAREZ-CARREON and                 )
FAUSTINO SUASTEGUI-VILLALVA,                 )
                                             )
                     Defendants.             )


       This matter is before the court on the motion to continue by defendant Fernando
Nevarez-Carreon (Nevarez-Carreon) (Filing No. 45).            Nevarez-Carreon seeks a
continuance of the trial of this matter which was scheduled for December 9, 2014 (Filing
No. 16). Since the issuance of that trial order, a Superseding Indictment has been
returned. Nevarez-Carreon has been arraigned on such Superseding Indictment and has
been given until December 11, 2014, to file any pretrial motions related to the Superseding
Indictment. Accordingly, Nevarez-Carreon’s motion to continue trial is granted. The
December 9, 2014, trial date is canceled, and will be rescheduled following the disposition
of any pretrial motions or the expiration of the pretrial motion deadline relating to the
Superseding Indictment.


       IT IS SO ORDERED.


       DATED this 1st day of December, 2014.
                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
